                          UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF NEW MEXICO

In re: Kathryn Ramona Esquibel,                                    Case No. 17-10498-j7

       Debtor.

           NOTICE OF SETTLEMENT AGREEMENT DATED MARCH 27, 2019

       Attached hereto is a copy of a fully executed Settlement Agreement dated March 27,

2019. As of this date, the Settlement Agreement is subject to approval of the Court.



                                             BY THE COURT
                                             Lana Merewether
                                             Clerk of Court

Dated: March 28, 2018




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